10/17/24, 3:28 PM   Case: 1:24-cv-10682 Document #: 1-1 Filed:
                                                     Register      10/17/24
                                                              of Actions         Page 1 of 2 PageID #:6
                                                                         - 2024CH09499




                                                                 District 1

                                                         Case Summary
                                                     Case No. 2024CH09499


    MARKEL AMERICAN INSURANCE                                           §            Location: District 1
    COMPANY-vs-SANFORD                                                  §      Judicial Officer: Calendar, 4
    SCHMIDT,SCHMIDT ADVISORY                                            §             Filed on: 10/16/2024
    SERVICES, INC., d/b/a ,SCHMIDT                                      § Cook County Attorney 46239
    FINANCIAL GROUP,                                                                  Number:
    LLC,CHRISTOPHER LORENZEN,CBL                                        § Cook County Attorney 40919
    INVESTMENTS, LLC,DIANE                                                            Number:
    FOWLER,JAMES MURAFF



                                                         Case Information

                                                                                           Case Type: Declaratory Judgment
                                                                                         Case Status: 10/16/2024 Pending



                                                  Assignment Information

      Current Case Assignment
      Case Number 2024CH09499
      Court            District 1
      Date Assigned 10/16/2024
      Judicial Officer Calendar, 4



                                                        Party Information

                                                                                                   Lead Attorneys

    Plaintiff          MARKEL AMERICAN INSURANCE COMPANY Formeller, Daniel Richard
                                                         Retained

    Defendant CBL INVESTMENTS, LLC

                       FOWLER, DIANE



https://cccportal.cookcountyclerkofcourt.org/app/RegisterOfActions/#/BC89EEBB550DD163E0F0A471FE1DC0D58262E3E8E5F9B3DEED529EF4F885A811/auth…   1/2
10/17/24, 3:28 PM   Case: 1:24-cv-10682 Document #: 1-1 Filed:
                                                     Register      10/17/24
                                                              of Actions         Page 2 of 2 PageID #:7
                                                                         - 2024CH09499


                       LORENZEN, CHRISTOPHER

                       MURAFF, JAMES P.

                       SCHMIDT, SANFORD

                       SCHMIDT ADVISORY SERVICES, INC., d/b/a

                       SCHMIDT FINANCIAL GROUP, LLC




                                             Events and Orders of the Court

    02/13/2025         Case Management (9:30 AM) (Judicial Officer: Conlon, Alison C)
                         Resource: Location CH2408 Court Room 2408
                         Resource: Location D1 Richard J Daley Center

    10/16/2024          New Case Filing
    10/16/2024
                        Appearance Filed - No Fee Paid -
                          Markel additional appearance McJessy Ching
    10/16/2024
                        Declaratory Judgment Complaint Filed
                          COMPLAINT FOR DECLARATORY JUDGMENT
                          Party: Plaintiff MARKEL AMERICAN INSURANCE COMPANY
                          Party 2: Attorney Formeller, Daniel Richard
    10/16/2024
                        Exhibits Filed
                          Exhibits A-P
                          Party: Plaintiff MARKEL AMERICAN INSURANCE COMPANY
                          Party 2: Attorney Formeller, Daniel Richard




https://cccportal.cookcountyclerkofcourt.org/app/RegisterOfActions/#/BC89EEBB550DD163E0F0A471FE1DC0D58262E3E8E5F9B3DEED529EF4F885A811/auth…   2/2
